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                                       Cooper & Kirk
                                                     Lawyers
                                       A Professional Limited Liability Company

Nicole J. Moss                    1523 New Hampshire Avenue, N.W.                              (202) 220-9600
(202) 220-9636                         Washington, D.C. 20036                              Fax (202) 220-9601
nmoss@cooperkirk.com

                                                March 12, 2021
FILED UNDER SEAL
The Honorable Loretta A. Preska
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:      Giuffre v. Dershowitz, No. 19-cv-3377-LAP
                Renewed Request to Compel Deposition of Leslie Wexner
Dear Judge Preska:
       I write on behalf of Plaintiff Virginia Giuffre in opposition to Defendant Alan Dershowitz’s letter
of March 4, 2021 (Doc. 249) (“Letter”), renewing his July 23, 2020, request that the Court compel non-
party Leslie Wexner to submit to a deposition in this matter.

        Although Plaintiff initially contemplated seeking testimony herself from Mr. Wexner, she agreed
with the Court’s decision to defer consideration of Defendant’s request until Mr. Zeiger, counsel to Mr.
Wexner during the relevant events, and Mr. Wexner had completed their document production and the
parties had deposed Mr. Zeiger. As counsel for Mr. Wexner represented to this Court in his letter of July
28, 2020, “Mr. Zeiger did have communications with Mr. Boies,” but Mr. Wexner “had no involvement,
and thus lacks any personal knowledge relating to, Defendant’s so-called ‘Extortion Claim.’” Letter from
Marion Little to the Honorable Loretta Preska (July 28, 2020), Doc. 159 at 3; see also Letter from Marion
Little to the Honorable Loretta Preska (Aug. 17, 2020), Doc. 166. The documents have now been
produced, and Mr. Zeiger’s deposition has been taken, and they obviate any need to depose Mr. Wexner.
A deposition of Mr. Wexner will shed no meaningful light on the parties’ claims and defenses and will
open the door to expansive discovery that is out of all proportion to the issues in this case.

        Information is discoverable only to the extent that it is relevant to a party’s claim or defense. FED.
R. CIV. P. 26(b)(1). Defendant primarily seeks to obtain Mr. Wexner’s testimony to prove the truth of his
statements that Plaintiff conspired with her attorneys to falsely accuse Defendant as part of a scheme to
extort money from Mr. Wexner. See Letter at 2. Mr. Zeiger’s deposition testimony establishes not only
that Defendant’s statements were false, but that Defendant knew they were false.

        The undisputed evidence shows that Plaintiff’s attorneys—Mr. Boies and his colleagues--had no
direct contact with Mr. Wexner about her potential claims. Mr. Zeiger’s testimony confirmed that all of
the meetings took place between Mr. Boies and Mr. Zeiger. Excerpts of Tr. of Deposition of John Zeiger
(Dec. 16, 2000), Ex. 1 at 71:13-17; 86:23-87:2; 121:16-23; 130:21-131:6; 145:21-146:11; 165:18-21. At
those meetings, Mr. Boies and his colleagues provided details about Plaintiff’s allegations against Mr.
Wexner, and Mr. Zeiger responded with his reasons for believing the allegations were not true. But this
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testimony does no more than describe a commonplace occurrence in the world of civil litigation: Attorney
A describes to Attorney B Client A’s potential claims against Client B, about the merits of which Attorney
B expresses doubt.

        Most importantly, Mr. Zeiger unequivocally repudiated Defendant’s theory that Plaintiff and her
attorneys were attempting to extort Mr. Wexner. Id. at 45:6-17. Indeed, Mr. Zeiger testified that Mr. Boies
at no point made a demand for payment of any kind of consideration, Ex. 1 at 201:5, 203:18–21, 204:3–
4, 204:9, 238:21–24, 256:3–21, 270:5–6, 271:15–16; that Mr. Wexner made no such payment, id. 179:19–
23, 200:18–201:5, 256:11–21, 257:5-7; that Mr. Boies was “very professional” and “forthright” about the
limitations of Plaintiff’s claims, id. at 35:4–9, 205:15–18, 271: 16– 19, 279:18– 21; and that Mr. Zeiger
does not recall Mr. Dershowitz’s name even being mentioned during his conversations with Mr. Boies,
id. at 204:19–21. This testimony utterly belies Defendant’s claim that Plaintiff falsely accused him to
create a public example designed to pressure Mr. Wexner into buying Plaintiff’s silence. What is more,
Defendant knew his claim was false. Mr. Zeiger testified that, while the extortion plot was supposedly
playing out in 2015, Mr. Zeiger told Defendant that Mr. Boies had made no demand. Id. at 238: 21–25.
Defendant pressured Mr. Zeiger to subscribe to his extortion conspiracy theory, id. at 42:23–43:5, 168:12-
15, 238:8–12, 251:18-21—even enlisting Jeffrey Epstein’s counsel to attempt to persuade Mr. Zeiger, id.
240:9–14, 247:15–21— but Mr. Zeiger’s view did not change. Defendant admitted to Mr. Zeiger in June
2015 that he believed that his extortion claims against Plaintiff and her counsel were incorrect, id. 235:10–
12, 236:6-11.

        It is thus clear that Mr. Wexner could not add to or detract from this comprehensive repudiation
of Defendant’s extortion conspiracy theory, as he did not participate in any of the conversations between
Mr. Zeiger and Mr. Boies. Defendant raises the possibility that Mr. Wexner may have made an
arrangement with Plaintiff or her attorneys without Mr. Zeiger’s knowledge, but that is nothing but wild
and improbable speculation for which Defendant has provided no support and was not even hinted at as a
possibility in the Zeiger deposition.

        Defendant knows this and therefore also focuses his letter on his other objective in deposing Mr.
Wexner: to elicit Mr. Wexner’s denial of sexual contact with Plaintiff a dozen years prior to the alleged
extortion plot. But whether Mr. Wexner had sexual contact with Plaintiff is simply not probative of the
truth of Defendant’s extortion conspiracy allegations. Defendant’s statements could be false even if
Plaintiff were mistaken—or outright lying—about Mr. Wexner. Conversely, Defendant’s statements
could be true even if Plaintiff were telling the truth about Mr. Wexner. What is relevant is whether Plaintiff
and her lawyers attempted to extort Mr. Wexner, and Mr. Zeiger’s unequivocal testimony makes crystal
clear that they did not.

         Moreover, Mr. Wexner’s testimony would not be conclusive on the question whether he and
Plaintiff had sexual contact. It would surprise no one that a person accused of sexually abusing an underage
woman would deny having done so. If Defendant is permitted to submit Mr. Wexner’s denial into evidence
in this case, then the door would be opened to Plaintiff seeking discovery testing that denial: deposing Mr.
Wexner and subpoenaing his emails, travel records, and other documents for the relevant time, deposing
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an officer of L Brands about the comprehensiveness of those travel records, 1 deposing individuals who
traveled or met with him at the relevant locations, etc. The resulting trial within a trial would tax judicial
resources and place a disproportionate burden on parties and non-parties.

        Defendant argues that Plaintiff has put the truth of her allegations against other men at issue
because, he says, she seeks to recover for his statement that she has a “documented history of lying about
prominent people.” Doc. 249 at 2 (quoting Amend. Comp., Doc. 117, at ¶ 17(p)). Defendant has torn this
snippet from its context in the larger statement quoted in the amended complaint, a statement in which
Defendant charges that Plaintiff’s lawyer, Mr. Boies, induced Plaintiff (and another woman) to falsely
“remember” that she had sex with Defendant and then filed her perjured affidavit to that effect in court. It
is clear that the full statement, as opposed to the snippet selectively quoted by Defendant, supports the
specific defamation claims she asserts: that Defendant defamed Plaintiff by stating that she perjured
herself when she accused Defendant of abusing her and that Plaintiff conspired with her lawyers to falsely
accuse Defendant as part of a scheme to extort Mr. Wexner. The same is true of the other statement
Defendant cites. Amend. Comp. ¶ 17(n). For the avoidance of doubt: Plaintiff does not seek to state a
defamation claim for any statement by Defendant that she lied about other individuals. Thus, the question
whether Wexner and Plaintiff had sexual contact is wholly collateral to the claims and defenses in this
case. Notably, Defendant does not argue that he is entitled to this evidence to collaterally attack Plaintiff’s
credibility, and for good reason: FED. R. EVID. 608(b) prohibits the offering of extrinsic evidence to attack
a witness’ credibility. See also FED. R EVID. 404(a)(1).

       This Court has on several occasions expressed concern with Defendant’s proposed discovery of
non-parties. E.g., Transcript of Dec. 2, 2019 Conference Before Judge Preska (Dec. 10, 2019), Doc. 96 at
7:2-5; Order (July 22, 2020), Doc. 152. And for good reason. Plaintiff has given hours of testimony,
concerning a number of individuals, in three different depositions taken in two different actions.
Defendant’s letter of March 5 shows that he plans to accuse Plaintiff of offering false testimony about no
fewer than nine individuals apart from himself and                . Exhibit Letter from Alan Dershowitz to
the Honorable Audrey Strauss, U.S. Attorney for the Southern District of New York (Mar. 5, 2021), Doc.
250-1. Although Plaintiff stands by the truth of her testimony, it simply is not realistic to hold mini trials
about each of these individuals.

        Plaintiff therefore respectfully requests that the Court deny Defendant’s request, again without
prejudice to its renewal if it appears at some later date that Mr. Wexner may have relevant testimony to
offer in this matter.

                                                       Respectfully,

                                                       s/Nicole J. Moss
                                                       Nicole J. Moss

cc: Counsel of Record


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          Mr. Zeiger testified that records he had collected regarding Mr. Wexner’s whereabouts were
comprehensive because “Mr. Wexner was always traveling with security, always travels on company
planes, is not allowed to travel on commercial or third-party planes.” Ex. 1 at 149: 11–14.
